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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:24-CR-00073 DJC
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           FINDINGS AND ORDER
14   PAULO ALFONSO PEREZ-MENDOZA,                       DATE: June 27, 2024
                                                        TIME: 9:00 a.m.
15                               Defendant.             COURT: Hon. Daniel J. Calabretta
16

17                                            STIPULATION

18         1.      By previous order, this matter was set for status on June 27, 2024.

19         2.      By this stipulation, defendants now move to continue the status conference until August

20 15, 2024, at 9:00 a.m., and to exclude time between June 27, 2024, and August 15, 2024, under Local

21 Code T4.

22         3.      The parties agree and stipulate, and request that the Court find the following:

23                 a)     The government has represented that the discovery associated with this case

24         includes 17,022 Bates Stamped pages of material, including recordings and photographs. All of

25         this discovery has been either produced directly to counsel and/or made available for inspection

26         and copying.

27                 b)     On April 11, 2024, the government has communicated a plea offer to the

28         defendant.


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      PERIODS UNDER SPEEDY TRIAL ACT
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 1                  c)     Counsel for the defendant desires additional time to review the discovery

 2          material, conduct further investigation, and consider the government’s plea offer.

 3                  d)     Counsel for defendants believe that failure to grant the above-requested

 4          continuance would deny them the reasonable time necessary for effective preparation, ]taking

 5          into account the exercise of due diligence.

 6                  e)     The government does not object to the continuance.

 7                  f)     Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of June 27, 2024 to August 15, 2024,

12          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

13          because it results from a continuance granted by the Court at defendant’s request on the basis of

14          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

15          of the public and the defendant in a speedy trial.

16          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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 2        IT IS SO STIPULATED.

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     Dated: June 18, 2024                          PHILLIP A. TALBERT
 4                                                 United States Attorney
 5
                                                   /s/ KAREN A. ESCOBAR
 6                                                 KAREN A. ESCOBAR
                                                   Assistant United States Attorney
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 8
     Dated: June 18, 2024                          /s/ Meghan McLoughlin
 9                                                 Meghan McLoughlin
                                                   Counsel for Defendant
10                                                 Paulo Alfonso Perez-Mendoza
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13
                                             ORDER
14
          IT IS SO FOUND AND ORDERED this 21st day of June, 2024.
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16                                                 /s/ Daniel J. Calabretta
17                                                 THE HONORABLE DANIEL J. CALABRETTA
                                                   UNITED STATES DISTRICT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME     3
     PERIODS UNDER SPEEDY TRIAL ACT
